Case 3:23-cv-01979-GC-DEA Document 2 Filed 04/06/23 Page 1 of 2 PageID: 103




Benesch, Friedlander, Coplan & Aronoff LLP
By: Kevin M. Capuzzi (NJ No. 173442015)
Continental Plaza II
411 Hackensack Avenue, 3rd Floor
Hackensack, New Jersey 07601-6323
Telephone: (302) 442-7010
Facsimile: (302) 442-7012
kcapuzzi@beneschlaw.com

Attorney for Defendant
LeafFilter North of New Jersey, LLC

                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY


 CYNTHIA A. GUMBA, A/K/A CYNTHIA A.
 SCHATZ-GUMBA, individually and on behalf of
 all others similarly situated,
                                                          C.A. No.   3:23-cv-01979
                        Plaintiffs,
                                                          APPLICATION FOR EXTENSION
         v.
                                                          OF TIME TO ANSWER, MOVE, OR
                                                          OTHERWISE REPLY TO
 LEAFFILTER NORTH OF NEW JERSEY, LLC
                                                          COMPLAINT
                                                          [Local Civil Rule 6.1(b)]
 and

 JOHN DOES 1-10,

                        Defendants.


       Application is hereby made, pursuant to Local Civil Rule 6.1(b), for a Clerk’s Order

extending the time within which Defendant LeafFilter North of New Jersey, LLC (“Defendant”)

may answer, move, or otherwise reply to the Complaint filed by the above-captioned plaintiff, by

14 days, to April 27, 2023, and it is represented that:

       1.      No previous extension has been requested or obtained;
       2.      Service of process was deemed effected on March 8, 2023; and
       3.      Pursuant to Fed. R. Civ. P. 81(c)(2)(C), Defendant’s time to answer, move, or
               otherwise reply to the Complaint currently expires on April 13, 2023.
Case 3:23-cv-01979-GC-DEA Document 2 Filed 04/06/23 Page 2 of 2 PageID: 104




Dated: April 6, 2023

                            BENESCH, FRIEDLANDER, COPLAN &
                            ARONOFF LLP

                            By: /s/ Kevin M. Capuzzi
                                Kevin M. Capuzzi (NJ No. 173442015)
                                Continental Plaza II
                                411 Hackensack Ave., 3rd Floor
                                Hackensack, New Jersey 07601-6323
                                Telephone: (302) 442-7063
                                Facsimile: (302) 442-7012
                                kcapuzzi@beneschlaw.com

                            Attorney for Defendant
                            LeafFilter North of New Jersey, LLC




                                     -2-
